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                                Your Total Monthly Payment is changing starting 12/01/2021.
                                                  Current Payment
                                                              Current Payment
                                                                                New Payments New Payments
                                                                                                            [12]-month Escrow Shortage
                                                                                                            You don't have to pay nothing extra now and your Escrow Required Deposit will be spread out over 12 monthly payments. Your [new] mortgage payment amount will be: $1,584.03


Principal and/or interest                                $1,012.37                   $1,012.37
                                                              Current Payment                New Payments




Monthly Escrow Payment                                     $705.43                    $571.66               You don't have to pay anything extra now
                                                              Current Payment


  Tax                                                                                                       and your escrow shortage will be spread out
                                                                                             New Payments




                                                              Current Payment
                                                                                       $360.63
  Insurance                                                                                                 over 12 monthly payments. Your [new]
                                                                                             New Payments




                                                                                       $116.25
  Mortgage Insurance
                                                              Current Payment


                                                                                                            mortgage payment amount will be: $1,584.03
                                                                                             New Payments




                                                                                          $0.00
                                                              Current Payment


  Monthly Escrow- Overage / Shortage Adjustment
                                                                                             New Payments




                                                              Current Payment
                                                                                         $94.78             See Projected Escrow Payments Section for details
Total Payment Amount
                                                                                             New Payments




                                                        $1,717.80                    $1,584.03




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                                                                                                           Escrow History
Here’s what happened in your escrow account since our last review compared to what we projected to happen. If there were
changes to your taxes and/or insurance, they’re bolded and highlighted below. This should help explain why there wasn’t enough
money in your escrow account to cover the taxes and insurance this past year. We’ve marked your lowest minimum balances with
an asterisk (*). Any deposits into Escrow are summed and shown as a total amount for the month.

If you recently filed a Chapter 13 bankruptcy, we have provided below a side-by-side comparison of your prior
projected escrow account activity to the actual account activity.
If this is an annual escrow statement provided during your Chapter 13 bankruptcy, then the projected escrow account
activity below was performed in accordance with the terms of your Chapter 13 plan. At the same time, we also maintained a
separate accounting that reflected your escrow account activity as indicated under the terms of your loan documents outside of
bankruptcy (shown below under the heading "Actual"). The Actual escrow activity includes both the receipt of your regular monthly
mortgage payments to escrow and any cure payments made under the terms of your Chapter 13 plan for escrow amounts due
from the period before your bankruptcy filing or otherwise due under your Chapter 13 plan. Below is the side-by-side comparison
of the plan projected activity to the actual activity for last year. Upon the completion of your Chapter 13 plan, if all payments due
under the Chapter 13 plan are received and taxes and insurance were paid in the amounts anticipated, then the projected and
actual ending balances should match. If you are unable to complete your Chapter 13 plan payments and your case is dismissed,
converted to a Chapter 7 or the automatic stay is lifted, then the actual accounting shown below will be used in performing your
next escrow analysis.


                                     Deposits To Escrow                                                            Payments From Escrow                                                                     Escrow Balances
        Month     Deposits to                      Expected                                  Description    What we Paid                       What we                                       Description    Actual                    Last Year's
                    Escrow                        Payment to                                                From Escrow                       Expected to                                                  Balance                    Estimated
                                                    Escrow                                                                                     Pay From                                                                                Balance
                                                                                                                                                Escrow                                 Description                   Actual Balance        Last Years Estimated Balance



                                                                                                                                                                                       Beginning           -$1,269.15                   $2,528.54
Month                                                                                                              What we paid from escrow
                                                                                                                                                                                       balance
                                                                                                                                                                                       Description                   Actual Balance        Last Years Estimated Balance



 12/2020                                                                                                          $156.48                                                              PMI/MIP             -$1,425.63*                   $2,528.54
Month                    Your Payment to Escrow        Expected Payment To Escrow   Description                                                  what we expected to pay from escrow
                                                                                                                                                                                       disbursement
                                                                                                                                                                                       Description                   Actual Balance        Last Years Estimated Balance



 12/2020             $1,337.33                        $662.20 Deposit                                                                                 $156.48                          PMI/MIP                 -$88.30                   $3,034.26
Month                                                                                                              What we paid from escrow
                                                                                                                                                                                       disbursement
                                                                                                                                                                                       Description                   Actual Balance        Last Years Estimated Balance



 01/2021                                                                                                          $156.48                                                              PMI/MIP                -$244.78                   $3,034.26
Month                    Your Payment to Escrow        Expected Payment To Escrow   Description                                                  what we expected to pay from escrow
                                                                                                                                                                                       disbursement
                                                                                                                                                                                       Description                   Actual Balance        Last Years Estimated Balance



 01/2021               $705.43                        $662.20 Deposit                                                                                 $156.48                          PMI/MIP                 $460.65                   $3,539.98
Month                                                                                                              What we paid from escrow
                                                                                                                                                                                       disbursement
                                                                                                                                                                                       Description                   Actual Balance        Last Years Estimated Balance



 02/2021                                                                                                          $156.48                                                              PMI/MIP                 $304.17                   $3,539.98
Month                    Your Payment to Escrow        Expected Payment To Escrow   Description                                                  what we expected to pay from escrow
                                                                                                                                                                                       disbursement
                                                                                                                                                                                       Description                   Actual Balance        Last Years Estimated Balance



 02/2021             $1,093.34                        $662.20 Deposit                                                                                 $156.48                          PMI/MIP               $1,397.51                   $4,045.70
Month                                                                                                              What we paid from escrow      what we expected to pay from escrow
                                                                                                                                                                                       disbursement
                                                                                                                                                                                       Description                   Actual Balance        Last Years Estimated Balance



 03/2021
Month                    Your Payment to Escrow        Expected Payment To Escrow   Description
                                                                                                                $1,778.43                       $1,743.45
                                                                                                                                                 what we expected to pay from escrow
                                                                                                                                                                                       City tax
                                                                                                                                                                                       Description
                                                                                                                                                                                                              -$380.92
                                                                                                                                                                                                                     Actual Balance
                                                                                                                                                                                                                                         $2,302.25
                                                                                                                                                                                                                                           Last Years Estimated Balance



 03/2021                $22.59                        $662.20 Deposit                                                                             $156.48                              PMI/MIP                -$358.33                   $2,807.97
Month                                                                                                              What we paid from escrow
                                                                                                                                                                                       disbursement
                                                                                                                                                                                       Description                   Actual Balance        Last Years Estimated Balance



 03/2021                                                                                                          $156.48                                                              PMI/MIP                -$514.81                   $2,807.97
Month                                                                                                              What we paid from escrow
                                                                                                                                                                                       disbursement
                                                                                                                                                                                       Description                   Actual Balance        Last Years Estimated Balance



 04/2021                                                                                                          $156.48                                                              PMI/MIP                -$671.29                   $2,807.97
Month                    Your Payment to Escrow        Expected Payment To Escrow   Description                                                  what we expected to pay from escrow
                                                                                                                                                                                       disbursement
                                                                                                                                                                                       Description                   Actual Balance        Last Years Estimated Balance



 04/2021             $3,647.40                        $662.20 Deposit                                                                                 $156.48                          PMI/MIP               $2,976.11                   $3,313.69
Month                                                                                                              What we paid from escrow
                                                                                                                                                                                       disbursement
                                                                                                                                                                                       Description                   Actual Balance        Last Years Estimated Balance



 05/2021                                                                                                          $156.48                                                              PMI/MIP               $2,819.63                   $3,313.69
Month                    Your Payment to Escrow        Expected Payment To Escrow   Description                                                  what we expected to pay from escrow
                                                                                                                                                                                       disbursement
                                                                                                                                                                                       Description                   Actual Balance        Last Years Estimated Balance



 05/2021               $705.43                        $662.20 Deposit                                                                                 $156.48                          PMI/MIP               $3,525.06                   $3,819.41
Month                                                                                                              What we paid from escrow
                                                                                                                                                                                       disbursement
                                                                                                                                                                                       Description                   Actual Balance        Last Years Estimated Balance



 06/2021                                                                                                          $156.48                                                              PMI/MIP               $3,368.58                   $3,819.41
Month                    Your Payment to Escrow        Expected Payment To Escrow   Description                                                  what we expected to pay from escrow
                                                                                                                                                                                       disbursement
                                                                                                                                                                                       Description                   Actual Balance        Last Years Estimated Balance



 06/2021               $705.43                        $662.20 Deposit                                                                                 $156.48                          PMI/MIP               $4,074.01                   $4,325.13
Month                                                                                                              What we paid from escrow
                                                                                                                                                                                       disbursement
                                                                                                                                                                                       Description                   Actual Balance        Last Years Estimated Balance



 07/2021                                                                                                        $1,784.00                                                              Homeowners            $2,290.01                   $4,325.13
                                                                                                                                                                                       insurance




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                                                                                                                                                                                                                                                                           Section 2 continued
                                    Deposits To Escrow                                                           Payments From Escrow                                                                                                                                   Escrow Balances
        Month    Deposits to                      Expected                                  Description   What we Paid                                                What we      Description                                                                          Actual                    Last Year's
                   Escrow                        Payment to                                               From Escrow                                                Expected to                                                                                       Balance                    Estimated
                                                   Escrow                                                                                                             Pay From                                                                                                                     Balance
Month                   Your Payment to Escrow        Expected Payment To Escrow   Description
                                                                                                                                                                       Escrow      what we expected to pay from escrow                                   Description             Actual Balance        Last Years Estimated Balance



 07/2021              $705.43                        $662.20 Deposit                                                                                                     $156.48 PMI/MIP                                                                                 $2,995.44                   $4,830.85
Month                                                                                                            What we paid from escrow
                                                                                                                                                                                 disbursement                                                            Description             Actual Balance        Last Years Estimated Balance



 07/2021                                                                                                        $156.48                                                          PMI/MIP                                                                                 $2,838.96                   $4,830.85
Month                                                                                                            What we paid from escrow
                                                                                                                                                                                 disbursement
                                                                                                                                                                                   what we expected to pay from escrow                                   Description             Actual Balance        Last Years Estimated Balance



 08/2021                                                                                                      $1,395.00                                                $1,478.00 Homeowners                                                                              $1,443.96                   $3,352.85
Month                   Your Payment to Escrow        Expected Payment To Escrow   Description
                                                                                                                                                                                 insurance
                                                                                                                                                                                   what we expected to pay from escrow                                   Description             Actual Balance        Last Years Estimated Balance



 08/2021              $705.43                        $662.20 Deposit                                                                                                     $156.48 PMI/MIP                                                                                 $2,149.39                   $3,858.57
Month                                                                                                            What we paid from escrow
                                                                                                                                                                                 disbursement                                                            Description             Actual Balance        Last Years Estimated Balance



 08/2021                                                                                                        $156.48                                                          PMI/MIP                                                                                 $1,992.91                   $3,858.57
Month
                                                                                                                                                                                 disbursement
                                                                                                                                                                     Payments From Escrowwhat we expected to pay from                                    Description             Actual Balance        Last Years Estimated Balance
                                                                                                                                                                                                               escrow


 08/2021                                                                                                                                                               $2,847.13 School taxes                                                                            $1,992.91                 $1,011.44*
Month                   Your Payment to Escrow        Expected Payment To Escrow   Description                                                                                     what we expected to pay from escrow                                   Description             Actual Balance        Last Years Estimated Balance



 09/2021            $1,254.38                        $662.20 Deposit                                                                                                           $156.48 PMI/MIP                                                                           $3,247.29                   $1,517.16
Month                                                                                                            What we paid from escrow
                                                                                                                                                                                        disbursement                                                     Description             Actual Balance        Last Years Estimated Balance



 09/2021
Month                                                 Expected Payment To Escrow   Description
                                                                                                              $2,549.18                                                                 School taxes
                                                                                                                                                                                   what we expected to pay from escrow                                   Description
                                                                                                                                                                                                                                                                           $698.11
                                                                                                                                                                                                                                                                                 Actual Balance
                                                                                                                                                                                                                                                                                                     $1,517.16
                                                                                                                                                                                                                                                                                                       Last Years Estimated Balance



 10/2021                                             $662.20 Deposit                                                                                                           $156.48 PMI/MIP                                                                             $698.11                   $2,022.88
Month                   Your Payment to Escrow        Expected Payment To Escrow   Description
                                                                                                                                                                                        disbursement
                                                                                                                                                                                   what we expected to pay from escrow                                   Description             Actual Balance        Last Years Estimated Balance



 11/2021              $548.95                        $662.20 Expected                                                                                                          $156.48 Scheduled                                                                         $1,247.06                   $2,528.60
                                                             Payment(s) not                                                                                                             PMI/MIP
Month                   Your Payment to Escrow
                                                             yet received
                                                      Expected Payment To Escrow                                   Payments Fr om Escr owWhat we paid fr om escrow
                                                                                                                                                                                        disbursement
                                                                                                                                                                                           Payments Fr om Escr owwhat we expected t o pay fr om escrow
                                                                                                                                                                                                                                                         Description             Actual Balance        Last Years Estimated Balance



TOTAL             $11,431.14                       $7,946.40                                                  $8,914.93                                                       $7,946.34 Ending                                                                          $1,247.06                   $2,528.60
                                                                                                                                                                                        balance




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       Summary of Escrow Transactions
 S ummary of escrow payment s
                                                        Actual          A ctual
                                                                                  Expected     E xpect ed




 Total Deposits To Escrow
 S ummary of escrow payment s
                                                           $11,431.14   A ctual
                                                                                      $7,946.40E xpect ed




 Monthly Deposits
 S ummary of escrow payment s
                                                            $11,431.14  A ctual
                                                                                       $7,946.40
                                                                                               E xpect ed




 Total Payments From Escrow
 S ummary of escrow payment s
                                                            $8,914.93   A ctual
                                                                                      $7,946.34E xpect ed




 Insurance
 S ummary of escrow payment s
                                                             $3,179.00  A ctual
                                                                                       $1,478.00
                                                                                               E xpect ed




 Taxes
 S ummary of escrow payment s
                                                             $4,327.61  A ctual
                                                                                       $4,590.58
                                                                                               E xpect ed




 Mortgage Insurance                                          $1,408.32                 $1,877.76

 This estimate assumes you’ll make the expected payments shown above.




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                                                                  Projected Escrow Payments
Here’s a summary of what we expect to happen in your escrow account over the next year. We used this information to
estimate your new monthly payment.

                         School taxes                                                                                                                     $2,549.18
                         City taxes                                                                                                                       $1,778.43
                         Homeowners insurance                                                                                                             $1,395.00
                         Total Expected Escrow Disbursements:                                                                                         $5,722.61

To estimate your monthly escrow payment, we total the expected payments to tax and/or insurance and divide by 12 months:
$5,722.61 /12 = $476.88.

                    Your estimated escrow account payments over the next 12 months
The numbers in this table assume your scheduled mortgage payments will be made. The balances referenced in the first chart
below are projected balances prior to any adjustments due to your bankruptcy plan. Those adjustments are shown in the
second chart below the projection.

Month                Your Payment                             Tax                                Insurance                               Mortgage Insurance   Expected
Month
                     to Escrow                                Payment(s)                         Payment(s)                              (MIP/PMI) Payment(s) Escrow Balance                                Expected Escrow Balance
Month



Beginning balance                                                                                                                                                                                       $1,247.06
Month                                Your Payment to Escrow                     Tax Payment(s)                    insurance payment(s)             Mortgage Insurance (MIP/PMI) Payment(s)                  Expected Escrow Balance



12/2021
Month
                                    $476.88
                                     Your Payment to Escrow
                                                                               $0.00
                                                                                Tax Payment(s)
                                                                                                                  $0.00
                                                                                                                  insurance payment(s)
                                                                                                                                                                     $0.00
                                                                                                                                                   Mortgage Insurance (MIP/PMI) Payment(s)
                                                                                                                                                                                                         $1,723.94
                                                                                                                                                                                                            Expected Escrow Balance



01/2022
Month
                                    $476.88
                                     Your Payment to Escrow
                                                                               $0.00
                                                                                Tax Payment(s)
                                                                                                                  $0.00
                                                                                                                  insurance payment(s)
                                                                                                                                                                     $0.00
                                                                                                                                                   Mortgage Insurance (MIP/PMI) Payment(s)
                                                                                                                                                                                                         $2,200.82
                                                                                                                                                                                                            Expected Escrow Balance



02/2022
Month
                                    $476.88
                                     Your Payment to Escrow
                                                                               $0.00
                                                                                Tax Payment(s)
                                                                                                                  $0.00
                                                                                                                  insurance payment(s)
                                                                                                                                                                     $0.00
                                                                                                                                                   Mortgage Insurance (MIP/PMI) Payment(s)
                                                                                                                                                                                                         $2,677.70
                                                                                                                                                                                                            Expected Escrow Balance



03/2022
Month
                                    $476.88
                                     Your Payment to Escrow
                                                                           $1,778.43
                                                                                Tax Payment(s)
                                                                                                                  $0.00
                                                                                                                  insurance payment(s)
                                                                                                                                                                     $0.00
                                                                                                                                                   Mortgage Insurance (MIP/PMI) Payment(s)
                                                                                                                                                                                                         $1,376.15
                                                                                                                                                                                                            Expected Escrow Balance



04/2022
Month
                                    $476.88
                                     Your Payment to Escrow
                                                                               $0.00
                                                                                Tax Payment(s)
                                                                                                                  $0.00
                                                                                                                  insurance payment(s)
                                                                                                                                                                     $0.00
                                                                                                                                                   Mortgage Insurance (MIP/PMI) Payment(s)
                                                                                                                                                                                                         $1,853.03
                                                                                                                                                                                                            Expected Escrow Balance



05/2022
Month
                                    $476.88
                                     Your Payment to Escrow
                                                                               $0.00
                                                                                Tax Payment(s)
                                                                                                                  $0.00
                                                                                                                  insurance payment(s)
                                                                                                                                                                     $0.00
                                                                                                                                                   Mortgage Insurance (MIP/PMI) Payment(s)
                                                                                                                                                                                                         $2,329.91
                                                                                                                                                                                                            Expected Escrow Balance



06/2022
Month
                                    $476.88
                                     Your Payment to Escrow
                                                                               $0.00
                                                                                Tax Payment(s)
                                                                                                                  $0.00
                                                                                                                  insurance payment(s)
                                                                                                                                                                     $0.00
                                                                                                                                                   Mortgage Insurance (MIP/PMI) Payment(s)
                                                                                                                                                                                                         $2,806.79
                                                                                                                                                                                                            Expected Escrow Balance



07/2022
Month
                                    $476.88
                                     Your Payment to Escrow
                                                                               $0.00
                                                                                Tax Payment(s)
                                                                                                                  $0.00
                                                                                                                  insurance payment(s)
                                                                                                                                                                     $0.00
                                                                                                                                                   Mortgage Insurance (MIP/PMI) Payment(s)
                                                                                                                                                                                                         $3,283.67
                                                                                                                                                                                                            Expected Escrow Balance



08/2022
Month
                                    $476.88
                                     Your Payment to Escrow
                                                                           $2,549.18
                                                                                Tax Payment(s)
                                                                                                              $1,395.00
                                                                                                                  insurance payment(s)
                                                                                                                                                                     $0.00
                                                                                                                                                   Mortgage Insurance (MIP/PMI) Payment(s)
                                                                                                                                                                                                         -$183.63
                                                                                                                                                                                                            Expected Escrow Balance



09/2022
Month
                                    $476.88
                                     Your Payment to Escrow
                                                                              $0.00
                                                                                Tax Payment(s)
                                                                                                                 $0.00
                                                                                                                  insurance payment(s)
                                                                                                                                                                     $0.00
                                                                                                                                                   Mortgage Insurance (MIP/PMI) Payment(s)
                                                                                                                                                                                                           $293.25
                                                                                                                                                                                                            Expected Escrow Balance



10/2022
Month
                                    $476.88
                                     Your Payment to Escrow
                                                                              $0.00
                                                                                Tax Payment(s)
                                                                                                                 $0.00
                                                                                                                  insurance payment(s)
                                                                                                                                                                     $0.00
                                                                                                                                                   Mortgage Insurance (MIP/PMI) Payment(s)
                                                                                                                                                                                                           $770.13
                                                                                                                                                                                                            Expected Escrow Balance



11/2022
Month
                                    $476.88                                   $0.00                              $0.00                                               $0.00                               $1,247.01
                                                                                                                                                                                                            Expected Escrow Balance



Ending balance                                                                                                                                                                                          $1,247.01




Based on this year’s review, your escrow account will be short by $1,137.39. This was calculated based on the lowest
minimum balance, which is bolded in the table above, and any payments to cure amounts outstanding prior to your bankruptcy
filing. Our records currently show this amount to be $0.00 and it is included in the calculation of the projected minimum
balance. This assessment assumes all payments due under your bankruptcy plan will be made, including regularly scheduled
mortgage payments due after your bankruptcy filing and payments to cure amounts due to your bankruptcy filing. Since your
projected minimum balance is lower than the required minimum balance, your account is short. The required minimum balance
(which is also sometimes called a cushion) may include up to two months of escrow payments (not including your mortgage
insurance) to help cover increases to your taxes and homeowner’s insurance. Your account’s current cushion is $953.76.


             Required Minimum Balance                                                                                                                                                  $953.76
               Minus
             Projected Minimum Balance                                                                                                   -$183.63+$0.00 = -$183.63
             Amount needed to adequately fund your account                                                                                                                 $1,137.39


Please let us know if you have any questions. You can call us at 800.669.6607, Monday - Friday, 8 a.m. to 9 p.m. ET. You can
review your account anytime at www.bankofamerica.com.




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